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               11
               12 Attorneys for Proposed Intervenor-Plaintiff
                  Owner-Operator Independent Drivers Association
               13
               14                       UNITED STATES DISTRICT COURT

               15                    SOUTHERN DISTRICT OF CALIFORNIA

               16
               17 CALIFORNIA TRUCKING                       Case No. 3:18-cv-02458-BEN-DEB
                  ASSOCIATION et al.,
               18                                           NOTICE OF APPEARANCE OF
                                                            TIMOTHY A. HORTON AS LOCAL
               19              Plaintiffs,                  COUNSEL FOR PROPOSED
               20                                           INTERVENOR-PLAINTIFF
                          v.                                OWNER OPERATOR
               21 XAVIER BECERRA, in his official           INDEPENDENT DRIVERS
                                                            ASSOCIATION
               22 capacity as the Attorney General of the
                  State of California; ANDRE
               23 SCHOORL, in his official capacity as
                  Acting Director of the Department of
               24 Industrial Relations of the State of
               25 California; and JULIE A. SU, in her
                  official capacity as Labor
               26 Commissioner of the State of
                  California, Division of Labor Standards
               27 Enforcement,
               28                                                         Case No. 3:20-CV-1198-GPC-KSC
  LAW OFFICE OF
TIMOTHY A. HORTON                                                                 3:18-cv-02458-BEN-DEB
                                                                               NOTICE OF APPEARANCE
           Case 3:18-cv-02458-BEN-DEB Document 138 Filed 08/22/22 PageID.2017 Page 2 of 2




                    1             Defendants.
                        and
                    2
                      INTERNATIONAL BROTHERHOOD
                    3 OF TEAMSTERS
                    4
                              Intervenor-Defendant.
                    5
                    6 TO THE COURT, ALL PARTIES, AND THEIR ATTORNEYS:
                    7     PLEASE TAKE NOTICE THAT Timothy A. Horton of the Law Office of
                    8 Timothy A. Horton hereby appears as counsel of record on behalf of Proposed
                    9 Intervenor-Plaintiff Owner-Operator Independent Drivers Association (“OOIDA”)
               10 and is to be noticed at the following address:
               11
                         Timothy A. Horton
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                         600 West Broadway, Suite 700
               13        San Diego, California 92101
                         Email: timhorton@timhortonlaw.com
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                         Facsimile: (619) 374-1668
               15
                         The Cullen Law Firm, PLLC and its attorneys admitted pro hac vice shall
               16
                  remain as lead counsel of record for OOIDA. Bona Law PC, prior local counsel for
               17
                  OOIDA will be filing a corresponding notice of withdrawal.
               18
               19 DATED: August 22, 2022                LAW OFFICE OF TIMOTHY A. HORTON
               20
                                                        By: /s/ Timothy A. Horton
               21
                                                           Timothy A. Horton
               22
                                                           Paul D. Cullen, Jr.
               23                                          Daniel E. Cohen
                                                           Charles R. Stinson
               24                                          THE CULLEN LAW FIRM, PLLC
               25
                                                           Attorneys for Proposed Intervenor-Plaintiff
               26                                          Owner-Operator Independent Drivers
                                                           Association
               27
               28
  LAW OFFICE OF                                                                Case No. 3:20-CV-1198-GPC-KSC
TIMOTHY A. HORTON                                            1                         3:18-cv-02458-BEN-DEB
                                                                                    NOTICE OF APPEARANCE
